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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


JORGE LA ROSA BORDAS,
A# 208-764-542,

      Petitioner,

v.                                          Case No.: 4:20cv530-MW/MAF

WILLIAM BARR, et al.,

     Respondents.
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                        ORDER ACCEPTING AND ADOPTING
                         REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report

and Recommendation. ECF No. 8. Upon consideration, no objections having been

filed by the parties,

      IT IS ORDERED:

      The report and recommendation is accepted and adopted as this Court’s

opinion. The Clerk shall enter judgment stating, “Petitioner’s § 2241 petition is

DISMISSED for failure to prosecute and as moot.” The Clerk shall close the file.

      SO ORDERED on March 4, 2021.

                                     s/Mark E. Walker
                                     Chief United States District Judge
